                                                                          Case 4:12-cv-01010-YGR Document 48 Filed 04/25/12 Page 1 of 1




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                                                                                                     UNITED STATES DISTRICT COURT
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                                                                                                  NORTHERN DISTRICT OF CALIFORNIA
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                                                                      MUSTAFA FTEJA,                                      Case No.: 12-cv-1010 YGR
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                                                                                                                          ORDER REGARDING PLAINTIFF’S FAILURE TO
                                                                  9                Plaintiff,                             FILE AN OPPOSITION TO DEFENDANT’S
                                                                                                                          MOTION TO DISMISS
                                                                 10          vs.
                                                                 11
                                                                      FACEBOOK, INC.,
                                                                 12
                                                                                    Defendant.
                               Northern District of California
United States District Court




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                                                                 14          Defendant Facebook, Inc. filed its Motion to Dismiss or for a More Definite Statement on
                                                                 15   April 2, 2012. (Dkt. No. 42.) The hearing on that motion is set for May 15, 2012. Plaintiff Mustafa
                                                                 16   Fteja’s opposition was due on April 19, 2012. Civ. L.R. 7-3(a).
                                                                 17          To date, Plaintiff has failed to oppose the Motion. Plaintiff Mustafa Fteja shall file an
                                                                 18   opposition to the Motion to Dismiss no later than 14 days from the date this Order is filed. Failure to
                                                                 19   file an opposition by that date will result in dismissal of the action for failure to prosecute. Any reply
                                                                 20   to an opposition must be served and filed not more than 7 days after the opposition is served and filed.
                                                                 21   Civ. L.R. 7-3(c).
                                                                 22          The Court maintains the current hearing date, but may vacate and re-set the hearing date
                                                                 23   depending upon whether an opposition and reply are filed.
                                                                 24          IT IS SO ORDERED.
                                                                 25   Dated: April 25, 2012
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                                                                 26                                                                 YVONNE GONZALEZ ROGERS
                                                                                                                               UNITED STATES DISTRICT COURT JUDGE
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